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 8                           IN THE UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                    CASE NO. 2:16-CR-00110-TLN

12                      Plaintiff,              ORDER DISMISSING INDICTMENT

13                           v.
                                                COURT: Hon. Troy L. Nunley
14 CHRISTINA MARIA GONZALEZ,

15                      Defendant.

16

17                                          ORDER

18         Based on the United States’s Motion to Dismiss, and pursuant to Rule 48 of the

19 Federal Rules of Criminal Procedure, it is HEREBY ORDERED that the Indictment is

20 dismissed against the above-captioned defendant.

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     Dated: September 26, 2018
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                                             Troy L. Nunley
26                                           United States District Judge
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      ORDER DISMISSING INDICTMENT
                                                1                   UNITED STATES V. GONZALEZ ET AL.
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